Case 1:01-cv-12257-PBS Document 7619-4 Filed 06/24/11 Page 1 of 15




                 Exhibit 4
               Case 1:01-cv-12257-PBS Document 7619-4 Filed 06/24/11 Page 2 of 15



 1   Harry J. Miller III, Esquire (AZ Bar No. 014556)
     80 East Columbus
 2   Phoenix, AZ 85012
     602-264-4965 telephone
 3   602-277-0144 facsimile
 4   Donald E. Haviland, Jr., Esquire
     KLINE & SPECTER, P.C.
 5   1525 Locust Street, 19th Floor
     Philadelphia, PA 19102                                       Attorneys for Plaintiff and the Class
 6   215-735-0957 facsimile                             [Additional Counsel appear on signature page]
 7                          SUPERIOR COURT OF THE STATE OF ARIZONA
                                IN AND FOR THE COUNTY OF MARICOPA
 8       ROBERT J. SWANSTON, individually and
 9       on behalf of himself and all others similarly situated,
                                        Plaintiff,
10               v.
         TAP Pharmaceutical Products Inc.; Abbott Laboratories;
11       Takeda Chemical Industries, Ltd.; Zeneca, Inc.; AstraZeneca CAUSE NO. CV2002-004988
         Pharmaceuticals LP; AstraZeneca LP; AstraZeneca PLC;
12       Pharmacia Corporation; Pharmacia & Upjohn, Inc.;             PLAINTIFF’S
         Monsanto Company; G.D. Searle; Johnson & Johnson;            MEMORANDUM IN
13       Ethicon Endo-Surgery, Inc.; Indigo Laser Corporation; Alza OPPOSITION TO
         Corporation; Centocor, Inc.; Ortho Biotech; Bayer            DEFENDANTS
14       Corporation; Wyeth; Wyeth Pharmaceuticals; Amgen, Inc.;      GLAXOSMITHKLINE,
         Immunex Corporation; Aventis Pharmaceuticals, Inc.;          FUJISAWA, WYETH AND
15       Aventis Behring L.L.C.; Hoechst Marion Roussel, Inc.;        DEY’S MOTION TO
         Baxter International Inc.; Baxter Healthcare Corporation;    DISMISS ON STANDING
16       Boehringer Ingelheim Corporation; Ben Venue Laboratories, AND RULE 9(b) GROUNDS
         Inc.; Bedford Laboratories; Roxane Laboratories, Inc.;
17       Bristol-Myers Squibb Company; Oncology Therapeutics          (Oral Argument Requested)
         Network Corporation; Apothecon, Inc.; Fujisawa Healthcare,
18       Inc.; Fujisawa USA, Inc.; GlaxoSmithKline, P.L.C.;           (Assigned to the Honorable
         SmithKline Beecham Corporation; Glaxo Wellcome, Inc.;        Rebecca Albrecht)
19       Schering-Plough Corporation; Warrick Pharmaceuticals
         Corporation; Sicor, Inc.;Gensia Sicor Pharmaceuticals, Inc.; CLASS ACTION
20       Dey, Inc.; David Jett and Jane Doe Jett; Christopher
         Coleman and Jane Doe Coleman; Scott Hidalgo and Amanda (Jury Trial Demanded)
21       Hidalgo; Michael Gendelman and Jane Doe Gendelman;
         Eddy James Hack and Jane Doe Hack; Kimberlee Chase and
22       John Doe Chase; Janice M. Swirski and John Doe Swirski;
         Donna Tom and John Doe Tom; David Guido and Jane Doe
23       Guido; Henry Van Mourik and Jane Doe Van Mourik; and
         Alan MacKenzie and Jane Doe MacKenzie; Does 1-50; ABC
24       Corporations 1-50; and XYZ Partnerships and Associations
         1-50,
25                                      Defendants.

26
27
28
     ©
         2004 KLINE & SPECTER, P.C.
               Case 1:01-cv-12257-PBS Document 7619-4 Filed 06/24/11 Page 3 of 15



 1              Plaintiff, Robert J. Swanston, on his behalf and on behalf of others similarly situated, hereby
 2   responds to defendants GlaxoSmithKline, Fujisawa, Wyeth and Dey’s Motion to Dismiss on Standing
 3   and Rule 9(b) Grounds.
 4   I.         INTRODUCTION
 5              Defendants pending Motion to Dismiss on Standing and Rule 9(b) grounds simply repeats the
 6   very same issues raised, and arguments made, by other defendants herein that were previously briefed,
 7   argued to this Court and decided by Judge Edward O. Burke on November 25, 2002 in denying all
 8   motions to dismiss. See Pl.’s Master Exh. “B.” (See also, Defendant AstraZeneca Pharmaceutical’s
 9   Motion to Dismiss dated 9/6/02 and Plaintiff’s Memorandum in Opposition thereto dated 10/22/02.
10   See also, TAP Pharmaceutical’s “Motion to Dismiss on Rule 12(b)(6) and Rule 9(b) Grounds” dated
11   … See also, Defendants Johnson & Johnson, Ethicon Endo-Surgery & Indigo Medical, Inc.’s Motion
12   to Dismiss dated 9/6/02 and Plaintiff’s Memorandum in Opposition thereto dated 10/22/02).
13              Since Judge Burke’s ruling, neither the facts nor the applicable law has changed.
14   Consequently, the outcome herein should not change. For the reasons stated below, defendants
15   Motion to Dismiss on Standing and Rule 9(b) grounds should be denied again as a matter of law as
16   to these defendants.
17   II.        ARGUMENT1
18              A.      PLAINTIFF HAS STANDING TO SUE THESE DEFENDANTS INDIVIDUALLY AND AS
                        A
19                      REPRESENTATIVE OF A LARGER CLASS BECAUSE HE ALLEGES DEFENDANT’S
                        INVOLVEMENT IN A WIDESPREAD DRUG PRICING CONSPIRACY.
20
                These defendants, like the others before them, argue identically in a very narrow scope, that
21
     plaintiff has no standing to sue them because plaintiff’s only purchase, at an artificially inflated price,
22
     was of Lupron, a prostate cancer treatment drug that is manufactured and sold by a different
23
     defendant, TAP Pharmaceuticals Products, Inc. (“TAP”). These defendants oversimplify the analysis
24
     to argue that they have no relation to TAP, that they do not manufacture Lupron or any other
25
26   1
              In addition to referring the Court to the briefing and decision on the prior motions to dismiss, plaintiffs
     incorporate by reference herein as though fully set forth their arguments on standing and pleading with
27   particularity made in their Memoranda in Opposition to the Motions to Dismiss of Amgen, Roxane Laboratories
     and Certain Newly Added Defendants filed concurrently herewith.
28
     ©
         2004 KLINE & SPECTER, P.C.                            2
               Case 1:01-cv-12257-PBS Document 7619-4 Filed 06/24/11 Page 4 of 15



 1   prostate cancer treatment drugs and that therefore plaintiff can’t allege or demonstrate that he
 2   sustained a “distinct and palpable injury” as a result of these specific defendant’s unlawful pricing
 3   practices.
 4              In order to distinguish themselves from the defendants that were all previously unsuccessful
 5   with this same motion, these defendants now argue that they do not specifically manufacture or sell,
 6   prostate cancer drugs. They argue that because this is the only type of cancer drug from which
 7   plaintiff Swanston alleges any injury or damage, plaintiff can not demonstrate a “distinct and palpable
 8   injury” from their conduct and therefore has no standing to sue these defendants in this action. What
 9   these defendants ignore is that plaintiff’s theories, as alleged in the Second Amended Complaint
10   (“SAC”), Pl.’s Master Exh. “A,” are on behalf of a class larger than this single plaintiff and are
11   broader and critical of more than just the prostate cancer drug industry. Plaintiff’s allegations, on
12   behalf of a larger class, speak to the inflated pricing of prescription drugs as improper conduct
13   beyond any particular drug being sold through that conduct. Plaintiff’s fraud and conspiracy theories
14   as alleged are actionable and just as applicable to the sale of non-cancer prescription drugs as to
15   cancer drugs.
16              These Defendants, and virtually every other drug manufacturer defendant, have sought
17   dismissal of plaintiff’s Complaint on grounds that he allegedly lacks standing to sue them simply
18   because he has not purchased their drugs. This narrow argument completely disregards the breadth
19   of Plaintiff’s Second Amended Complaint - i. e., that defendants engaged in a widespread fraudulent
20   scheme and conspiracy to defraud prescriptive drug consumers by, inter alia, artificially inflating and
21   fixing the prices of their prescription drugs, causing this plaintiff and the Class to pay more for their
22   prescription drugs (for prostate cancer and other ailments) than they otherwise would have paid in
23   the absence of the conspiracy. The conspiracy confers upon the plaintiff the standing to sue all the
24   market participants in the prescription drug market whose parallel conduct combined to cause injury
25   and damages to him and to all other drug consumers similarly situated.
26              In their Motion to Dismiss, these Defendants have disregarded the allegations made in
27   Plaintiff’s SAC and selectively extracted and quoted specific portions of Plaintiff’s prior Memoranda
28
     ©
         2004 KLINE & SPECTER, P.C.                      3
               Case 1:01-cv-12257-PBS Document 7619-4 Filed 06/24/11 Page 5 of 15



 1   in Opposition to the original Defendants Motions to Dismiss which dealt only with prostate cancer
 2   drugs. Looking merely to Plaintiff’s prior opposition memoranda, which were necessarily specific
 3   as to prostate cancer drugs in order to directly respond to those defendants who do manufacture
 4   prostate cancer drugs, distorts the broader reach of Plaintiff’s allegations of conspiracy in the SAC
 5   against certain additional prescription drug manufacturers generally.
 6              As Judge Burke pointed out in his November 25, 2002 decision, the Court must take
 7   Plaintiff’s allegations in the Complaint as true. When read in whole and in proper context, Plaintiff’s
 8   SAC clearly alleges that the conspiracy here involves victims and conduct beyond just the “prostate
 9   cancer drug market.” (See for examples, Plaintiff’s SAC at ¶ 1, 12, 15, 17, 18, 23, 24, 26-30, 32,
10   37, 38, 43, 61, 62, 77-81, 86, 102, 103, 105, 108, 109, 120, 121, 127-129, 134, 144-147, 246-257,
11   262-266, 267-270, 271-274, 301, 306-308, 310-316). The preceding paragraphs from Plaintiffs’
12   SAC are obviously too numerous to quote verbatim, However, taking all of those allegations as true,
13   the applicable law and accepted authority makes it clear that Plaintiff Swanston does have standing
14   to bring this suit against these Defendants.
15              It is hornbook law that a conspirator is liable for all acts which its co-conspirators committed
16   in furtherance of the conspiracy, including acts not personally committed. See Sheet Metal Workers
17   Int’l Assoc. v. Nichols, 89 Ariz. 187, 194, 360 P.2d 204, 209 (1961) (“one conspirator is the agent
18   of the other and ... each is therefore bound by the statements or acts of the other in execution of the
19   agency.”); Rowland v. Union Hills Country Club, 157 Ariz. 301, 306, 757 P.2d 105, 110 (Ariz. Ct.
20   App. 1988) (“not all members of a conspiracy need be named defendants for one member to be found
21   liable.”); Beltz Travel Serv., Inc. v. Int’l Air Transp., 620 F.2d 1360, 1367 (9th Cir. 1980) (“All
22   conspirators are jointly liable for the acts of their co-conspirators.”) Accordingly, plaintiff has
23   standing to sue a party even if he has not dealt with that party, so long as he has had dealings with
24   at least one co-conspirator, i.e., TAP Pharmaceuticals. See La Mar v. H&B Novelty & Loan Co., 489
25   F.2d 461, 466 (9th Cir. 1973) (class representative who does not have a cause of action against a
26   particular defendant can represent members of a class who do where “conspiracy or concerted
27   schemes between the defendants at whose hands the class suffered injury” are alleged); In re Arizona
28
     ©
         2004 KLINE & SPECTER, P.C.                        4
               Case 1:01-cv-12257-PBS Document 7619-4 Filed 06/24/11 Page 6 of 15



 1   Dairy Products Litig., 627 F. Supp. 233, 236 (D. Ariz. 1985) (plaintiffs have standing in suit seeking
 2   damages from defendants for purchases made from un-named conspirators). The leading treatise on
 3   class actions is in accord:
 4                      When there are multiple defendants named who are engaged in parallel
                        conduct, the plaintiff’s standing to sue those defendants with whom
 5                      he or she has had no business or other direct contact does not depend
                        on whether the plaintiff can demonstrate that those additional
 6                      defendants have injured the plaintiff directly. Rather, the focus for
                        standing purposes is whether the challenged conduct of such
 7                      additional defendants is sufficiently related to the plaintiff’s alleged
                        grievances or injuries that such additional defendants should be liable
 8                      or legally accountable to the plaintiffs. The law has developed at least
                        two general categories of cases in which the defendants are liable for
 9                      the plaintiff’s injuries because the defendants contributed to those
                        injuries, even though the plaintiff has had no business or other direct
10                      contact with defendants. When the alleged parallel conduct is the
                        result of a conspiracy, not only are all members of the conspiracy
11                      jointly liable, but also the plaintiff may join any or all defendants in the
                        action, and, if the requirements of Rule 23 are met, such plaintiff may
12                      represent a class of all persons injured by the conspiracy though he or
                        she had no individual dealings with some of the defendants.
13
     1 NEWBERG ON CLASS ACTIONS,§ 3.18 at 3-104 - 3-105 (3d ed. 1992) (emphasis added).
14
                It is also widely held outside the federal courts of the Ninth Circuit, and in a variety of cases,
15
     that plaintiffs generally have standing to sue “non-dealing parties” involved in a conspiracy. See, e.g.,
16
     Central Wesley College v. W.R. Grace & Co., 6 F.3d 177, 188 (4th Cir. 1993) (“allegations of
17
     conspiracy among parties with whom a plaintiff did not directly deal may confer standing upon the
18
     plaintiff to sue the non-dealing parties” (asbestos product liability)); Bogosian v. Gulf Oil Corp., 561
19
     F.2d 434, 448 (3d Cir. 1977) (“The fact that a customer has not made purchases from every co-
20
     conspirator does not prevent him from suing all for each co-conspirator contributed to the charging
21
     of the supracompetitive price paid by the purchaser.” (antitrust)); In re Bromine Antitrust Litig., 203
22
     F.R.D. 403, 410, n.S (S.D. Ind. 2001) (citing Bogosian (antitrust)); Emig v. American Tobacco Co.,
23
     184 F.R.D. 379, 386 (D. Kan. 1998) (allegations of conspiracy to manipulate nicotine content in
24
     cigarettes and conceal and suppress information regarding addictive properties of nicotine conferred
25
     standing upon plaintiffs even though they did not purchase cigarettes from each defendant (tort
26
     action)); In re Nasdaq Market-Makers Antitrust Litig., 169 F.R.D. 493, 508 (S.D.N.Y. 1996) (no
27
     dealings with twenty-three of thirty-three defendants did not deprive plaintiffs of standing since “a
28
     ©
         2004 KLINE & SPECTER, P.C.                          5
               Case 1:01-cv-12257-PBS Document 7619-4 Filed 06/24/11 Page 7 of 15



 1   Plaintiff injured by one defendant as a result of the conspiracy has standing to represent a class of
 2   individuals injured by any of the defendant’s co-conspirators.” (antitrust)); Washington Education
 3   Assoc. v. Shelton School Dist. No. 309, 613 P.2d 769, 790-91 (Wash. 1980) (allegations of
 4   employment discrimination as a result of collusion among school districts statewide confer standing
 5   on named plaintiffs, even though those individuals were not employees of all defendants named
 6   (employment discrimination)).
 7              Plaintiff Swanston has sued on his behalf and on behalf of a class that includes patients and
 8   others that have purchased non-cancer prescription drugs at inflated prices. These Defendants are
 9   alleged to have engaged in parallel conduct of unlawful price inflation and alleged to have sold their
10   drugs to class members represented by Plaintiff Swanston. This parallel conduct makes these
11   Defendants co-conspirators and based on the foregoing authority confers standing on Plaintiff
12   Swanston to bring suit against them on behalf of a class consisting of their drug consumers.
13              These Defendants conveniently ignore the well settled conspiracy law cited above and self
14   servingly cite cases which merely discuss the requirement that the plaintiff, “allege a distinct and
15   palpable injury.” See Sears, 192 Ariz. at 69, 961 P.2d at 1017. In fact, Plaintiff Swanston has alleged
16   a distinct and palpable injury to himself as well as to the class by alleging harm caused by a broader
17   fraudulent scheme and conspiracy engaged in by all of these defendants. This fraudulent scheme and
18   conspiracy caused the plaintiff and the Class to pay too much for the prostate cancer drugs and for
19   the prescription drugs purchased by them and manufactured, distributed and sold by all of these
20   Defendants.
21              To borrow from Judge Burke, “the gravamen of Plaintiff’s Complaint (now as the Second
22   Amended Complaint)” remains a conspiracy in which these Defendants participated. If it is proven
23   that these Defendants were co-conspirators with TAP and the other previously named defendants by
24   virtue of their parallel conduct of price inflation, and TAP or the other defendants are found liable,
25   then these Defendants can be held liable as co-conspirators. Sheet Metal Workers International
26   Association v. Nichols, 89 Ariz. 187, 194, 360 P.2d 204 (1961).
27
28
     ©
         2004 KLINE & SPECTER, P.C.                      6
               Case 1:01-cv-12257-PBS Document 7619-4 Filed 06/24/11 Page 8 of 15



 1              These Defendants seek to refute plaintiff’s proper allegations by charging that he has failed
 2   to allege distinct injury caused by their pricing conduct simply because the class representative
 3   plaintiff did not purchase any of these Defendants drugs. However, these Defendants cite no case
 4   requiring such an allegation because there is none. Instead, as the above-cited cases and authorities
 5   make clear, when the plaintiff alleges, as here, that his harm was caused by a conspiracy among many
 6   actors engaged in parallel conduct, the plaintiff has properly pled cognizable injury caused by all such
 7   actors.
 8              The class action cases cited by these defendants require no more. Indeed, the threshold
 9   requirements for standing in a class action case are no different than in a non-class case. In this
10   context, the class is potentially immense. No single class representative can ever have the direct
11   involvement with all of the potential defendants in such a widespread market conspiracy that these
12   specific Defendants argue is required for standing. The very purpose of class actions like this one is
13   to redress the harms to a large class caused by an equally large group of defendants that would be
14   guilty of parallel conduct sufficient to find a conspiracy, if the allegations are proven true throughout
15   the course of the litigation.
16              B.      PLAINTIFF HAS SUFFICIENTLY PLED HIS CLAIMS FOR FRAUD TO WITHSTAND
                        A MOTION TO DISMISS
17
                It is true that allegations of fraud must be pleaded with specificity. Spudnuts v. Lane, 641 P.2d
18
     912, 913, 131 Ariz. 424, (1982). However, the law does not require that any particular language
19
     be used, so long as the elements of fraud are present, “considering the complaint as a whole.” Denbo
20
     v. Badger, 506 P.2d 384, 386, 18 Ariz. App. 426 (1972). This court has previously ruled that the
21
     allegations contained in the plaintiff’s First Amended Complaint sufficiently plead fraud. (Burke
22
     Order dated 11/25/2002). The plaintiff’s Second Amended Complaint contains even more detail than
23
     the First Amended Complaint, and, therefore, must necessarily be found to comply with the
24
     provisions of Rule 9(b), Ariz.R.Civ.Proc.
25
                The Rule 9(b) requirements are an exception to the general notice pleading rules in Arizona.
26
     Brazee v. Morris, 179 P.2d 442, 443 (Ariz. 1947). The purpose of the exception is to eliminate
27
     surprise. Pruitt v. Pavelin, 685 P.2d 1347, 1358, 141 Ariz. 195 (1984). The Second Amended
28
     ©
         2004 KLINE & SPECTER, P.C.                        7
               Case 1:01-cv-12257-PBS Document 7619-4 Filed 06/24/11 Page 9 of 15



 1   Complaint sets forth in detail the nature of the conduct that the plaintiff alleges to be fraudulent in
 2   such a manner that the defendants cannot, in good faith, argue that they will be surprised at some
 3   future date about the nature of the plaintiff’s claims. Indeed, Plaintiffs’ Second Amended Complaint
 4   contains so many details, that it would again be impossible to list each and every one verbatim within
 5   the page limits allowed for responding to the plaintiff’s motion. The following allegations alone,
 6   however, leave no doubt that the defendant knows, or should know, the nature of the conduct the
 7   plaintiff alleges it has committed:
 8              1.      In paragraphs 127-135 contain detailed allegations that the defendants have fraudulent
 9   inflated the AWP’s of its drugs, with the intent to deceive. While these paragraphs do contain even
10   more detailed allegations concerning the conduct of other corporate defendants, such as TAP and
11   Astra Zeneca, the allegations are sufficiently detailed as to all corporate defendants to comply with
12   Rule 9(b).
13              2.      Paragraphs 135-141 contained detailed allegations that the defendants engaged in
14   activity in which they unlawfully used free samples as an inducement to entice doctors to prescribe
15   their prescription drugs. These paragraphs also contain even more detailed allegations as to other
16   corporate defendants, but the are sufficient detailed as to all corporate defendants to comply with
17   Rule 9(b).
18              3.      Paragraph 141 alleged detailed allegations that all corporate defendants, including the
19   moving defendants, engaged in other fraudulent conduct, including kickbacks to medical providers,
20   which consisted of cash payments, free drugs, trips to resorts, free consulting services to doctors and
21   other customers, free continuing medical education courses, and debt forgiveness.
22              4.      Paragraph 145 of the Second Amended Complaint alleges in detail specific conduct
23   on the part of each corporate defendant in furtherance of the conspiracy to commit fraud.
24              5.      Paragraph 294 of the Second Amended Complaint alleges that the corporate
25   defendants, including the moving defendants, acted intentionally to mislead, and that the members of
26   the class reasonably relied upon the representations of the corporate defendants, and suffered
27   damages thereby.
28
     ©
         2004 KLINE & SPECTER, P.C.                       8
              Case 1:01-cv-12257-PBS Document 7619-4 Filed 06/24/11 Page 10 of 15



 1              Given the high level of detail contained in the Second Amended Complaint, the only
 2   reasonable conclusion is that it meets the requirements of Rule 9(b) as to each and every corporate
 3   defendant subject to this lawsuit. However, as previously noted, because the plaintiff has alleged a
 4   conspiracy between the various corporate defendants, each may be held liable for the acts of the
 5   other. Sheet Metal Workers Int’l Assn. v. Nichols, 89 Ariz. 187, 194, 360 P.2d 204 (1961).
 6              The Second Amended Complaint does contain more detailed allegations against certain
 7   corporate defendants than against others (specifically, TAP), but it is also alleged that the other
 8   corporate defendants are co-conspirators with TAP. That allegation must be taken as true for
 9   purposes of ruling on the Motion to Dismiss. As Judge Burke previously ruled in this case,
10   “[b]ecause Plaintiff is dealing with an alleged corporate conspiracy, Plaintiff has pled his fraud claims
11   with sufficient particularity to withstand this motion to dismiss.” (Burke Order, dated 11/25/2002).
12   Pl.’s Master Exh. “B.”
13   III.       CONCLUSION
14              For all of the foregoing reasons, these Defendants’ Motion to Dismiss on Standing and Rule
15   9(b) grounds should be denied.
16   Dated: April 30, 2004                           Respectfully submitted,
                                                     /s/ Donald E. Haviland, Jr., Esquire
17                                                   donald.haviland@klinespecter.com
                                                     Donald E. Haviland, Jr., Esquire
18                                                   KLINE & SPECTER, P.C.
                                                     1525 Locust Street, 19th Floor
19                                                   Philadelphia, PA 19102
                                                     (215) 772-1000 telephone
20
                                                     Harry J. Miller, Esquire (AZ Bar No. 014556)
21                                                   HARRY J. MILLER, P.L.L.C.
                                                     80 E. Columbus Avenue
22                                                   Phoenix, AZ 85012
                                                     (602) 264-4965 telephone
23
                                                     Chad L. Schexnayder, Esquire
24                                                   JENNINGS, HAUG & CUNNINGHAM, L.L.P.
                                                     2800 North Central Avenue, Suite 1800
25                                                   Phoenix, AZ 85004-1049
                                                     (602) 234-7800 telephone
26
                                                     Kent M. Williams, Esquire
27                                                   GIEBEL, GILBERT, WILLIAMS & KOHL, P.L.L.P.
                                                     1300 Godward Street, N.E., Suite 6200
28
     ©
         2004 KLINE & SPECTER, P.C.                     9
                Case 1:01-cv-12257-PBS Document 7619-4 Filed 06/24/11 Page 11 of 15



 1                                                                                                 Minneapolis, MN 55413
                                                                                                   (651) 633-9000 telephone
 2
 3                                                                                                 Marvin K. Blount, Jr., Esquire
                                                                                                   THE BLOUNT LAW FIRM, P.L.L.C.
 4                                                                                                 400 West First Street
                                                                                                   Greenville, NC 27834
 5                                                                                                 (252) 752-6000 telephone
 6                                                                                                 Lewis B. April, Esquire
                                                                                                   COOPER LEVENSON APRIL
 7                                                                                                    NIEDELMAN & WAGENHEIM, P.A.
                                                                                                   1125 Atlantic Avenue - Third Floor
 8                                                                                                 P.O. Box 1125
                                                                                                   Atlantic City, NJ 08404-1125
 9
                                                                                                   ATTORNEYS FOR PLAINTIFF AND THE CLASS
10   C:\Documents and Settings\jladmin\My Documents\ConversionWorkDir\369_200405061843030578.wpd



11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     ©
         2004 KLINE & SPECTER, P.C.                                                                  10
              Case 1:01-cv-12257-PBS Document 7619-4 Filed 06/24/11 Page 12 of 15



 1                                      CERTIFICATE OF MAILING
 2              I hereby certify that Plaintiff’s Response To Defendants GlaxoSmithKline, Fujisawa, Wyeth
 3   and Dey’s Motion to Dismiss on Standing And Rule 9(b) Grounds, was duly served this date, April
 4   30, 2004, on the following parties, via Lexis/Nexis electronic filing service:
 5   Daniel E. Reidy, Esquire                               Andrew D. Schau, Esquire
     Lee Ann Russo, Esquire                                 William F. Cavanaugh, Jr., Esquire
 6   Mark P. Rotatori, Esquire                              Adeel Abdullah Mangi, Esquire
     Beth A. O’Connor, Esquire                              Kieran M. Corcoran, Esquire
 7   JONES DAY REAVIS & POGUE                               Erik Haas, Esquire
     77 West Wacker                                         PATTERSON, BELKNAP, WEBB & TYLER, LLP
 8   Chicago, IL 60601-1692                                 1133 Ave. of the Americas
     National for Deft., TAP Pharm. Prods., Inc.            New York, NY 10036-6710
 9                                                          National Counsel for Defts., Johnson & Johnson,
     Timothy J. Burke, Esquire                              Ethicon Endo-Surgery, Inc., Indigo Laser Corp.,
10   FENNEMORE CRAIG, P.C.                                  Alza Corp., Centocor, Inc. and Ortho Biotech
     3003 North Central Ave., Suite 2600
11   Phoenix, AZ 85012-2913                                 Mary G. Pryor, Esquire
     Local Counsel for Deft., TAP Pharm. Prods.             THE CAVANAGH LAW FIRM
12                                                          1850 North Central Ave., Suite 2400
     Joshua T. Buchman, Esquire                             Phoenix, AZ 85004-4527
13   MCDERMOTT, WILL & EMERY                                Local Counsel for Johnson & Johnson, Ethicon
     227 West Monroe Street                                 Endo-Surgery, Inc., Indigo Laser Corp., Alza Corp.,
14   Chicago, IL 60606-5096                                 Centecor, Inc. & Ortho Biotech
     National Counsel for Deft., Abbott Laboratories
15                                                          D. Scott Wise, Esquire
     Randy Papetti, Esquire                                 Kimberley Harris, Esquire
16   LEWIS AND ROCA LLP                                     Arthur F. Golden, Esquire
     40 North Central Ave.                                  Eric D. Gill, Esquire
17   Phoenix, AZ 85004-4429                                 DAVIS POLK & WARDWELL
     Local Counsel for Deft., Abbott Laboratories           450 Lexington Ave.
18                                                          New York, NY 10017
     Robert R. Stauffer, Esquire                            National Counsel for Deft., AstraZeneca
19   Thomas P. Sullivan, Esquire
     Mark D. Pollack, Esquire                               William J. Maledon, Esquire
20   Anthony C. Porcelli, Esquire                           Linda Weaver, Esquire
     JENNER & BLOCK                                         OSBORN MALEDON, P.A.
21   One IBM Plaza, 45th Floor                              2929 North Central Ave., 21st Floor
     Chicago, IL 60611                                      Phoenix, AZ 85012
22   National for Deft., Takeda Chem. Indus., Ltd.          Local Counsel for Deft., AstraZeneca

23   Donald P. Martin, Esquire                              Scott A. Stempel, Esquire
     John Maston O’Neal, Esquire,                           Jason Baranski, Esquire
24   QUARLES & BRADY STREICH LANG LLP                       MORGAN, LEWIS & BOCKIUS, LLP
     One Renaissance Square,                                1111 Pennsylvania Avenue
25   Two North Central Ave.                                 Washington, DC 20004-2921
     Phoenix, AZ 85004-2391                                 National Counsel for Defts. Pharmacia Corp. and
26   Local Counsel for Deft., Takeda Chem. Indus.           Pharmacia & Upjohn, Monsanto Company, and
                                                            G.D. Searle
27
28
     ©
         2004 KLINE & SPECTER, P.C.                 Page 11 of 14
              Case 1:01-cv-12257-PBS Document 7619-4 Filed 06/24/11 Page 13 of 15



 1   John C. Dodds, Esquire                               Kimberly A. Dunne, Esquire
     Mitchell Edwards, Esquire                            Frank J. Menetrez, Esquire
 2   Jason E. Baranski, Esquire                           SIDLEY AUSTIN BROWN & WOOD LLP
     MORGAN, LEWIS & BOCKIUS, LLP                         555 West Fifth street, 40th Floor
 3   1701 Market Street                                   Los Angeles, CA 90013
     Philadelphia, PA 19103-2921                          Counsel for Bayer Corporation
 4   National Counsel for Defts. Pharmacia Corp. and
     Pharmacia & Upjohn, Monsanto Company, and            Joseph H. Young, Esquire
 5   G.D. Searle                                          Steven F. Barley, Esquire
                                                          HOGAN & HARTSON, LLP
 6   Barry D. Halpern, Esquire                            111 S. Calvert St., Suite 1600
     Stephanie V. Hacket, Esquire                         Baltimore, MD 21202
 7   SNELL & WILMER L.L.P.                                National Counsel for Defts. Amgen, Apothecon,
     One Arizona Center                                   Inc., Bristol-Myers Squibb Co. and Oncology
 8   400 East Van Buren                                   Therapeutics Network Corp.
     Phoenix, AZ 85004-2202
 9   Local Counsel for Defts.,                            Andrew S. Gordon, Esquire
     Pharmacia Corp., Pharmacia & Upjohn Monsanto         James D. Jorgensen, Esquire
10   Company, and G.D. Searle                             COOPERSMITH GORDON SCHERMER OWENS &
                                                          NELSON, PLC
11   Brien T. O’Connor, Esquire                           2800 N. Central Avenue, Suite 1000
     John T. Montgomery, Esquire                          Phoenix, AZ 85004
12   Kirsten V. Mayer, Esquire                            Local Counsel for Defts. Amgen, Inc., Apothecon,
     David C. Potter, Esquire                             Inc., Bristol-Myers Squibb Co. and Oncology
13   ROPES & GRAY                                         Therapeutics Network Corp.
     One International Place
14   Boston, MA 02110                                     Merle M. DeLancey, Jr., Esquire
     National Counsel for Defts. Schering-Plough and      DICKSTEIN SHAPIRO MORIN
15   Warrick Pharmaceuticals                              2101 L. St. NW
                                                          Washington, DC 20037
16   Patrick G. Byrne, Esquire                            Baxter Int’l, Inc. & Baxter Healthcare
     Andrew F. Halaby, Esquire
17   SNELL & WILMER LLP                                   William D. Nussbaum, Esquire
     One Arizona Center                                   Jonathan T. Rees, Esquire
18   400 E. Van Buren                                     Jonathan S. Kallmer, Esquire
     Phoenix, AZ 85004-2202                               HOGAN & HARTSON LLP
19                                                        555 13th Street, N.W., Suite 13-W
     Richard D. Raskin, Esquire                           Washington, DC 20004
20   David C. Giardina, Esquire                           National Counsel for Deft. Aventis Behring
     SIDLEY AUSTIN BROWN & WOOD LLP
21   Bank One Plaza                                       Paul Schleifman, Esquire
     10 S. Dearborn Street, 48th Floor                    SHOOK, HARDY & BACON, LLP
22   Chicago, IL 60603                                    One Kansas City Place
     National Counsel for Deft., Bayer Corporation        1200 Main Street
23                                                        Kansas City, MO 64105-2118
     Alan H. Blankenheimer, Esquire                       National Counsel for Defts. Aventis Pharm., Inc.,
24   Timothy J. Franks, Esquire                           and Hoescht Marion Roussel, Inc.
     BROWN & BAIN, P.C.
25   P.O. Box 400
     Phoenix, AZ 85001-0400
26   Local Counsel for Deft., Bayer Corporation

27
28
     ©
         2004 KLINE & SPECTER, P.C.               Page 12 of 14
              Case 1:01-cv-12257-PBS Document 7619-4 Filed 06/24/11 Page 14 of 15



 1   Pamela M. Overton, Esquire                           Paul J. Coval, Esquire
     GREENBERG TRAURIG , LLP                              Douglas L. Rogers, Esquire
 2   2375 East Camelback Road, Suite 700                  Darrell A.H. Miller, Esquire
     Phoenix, AZ 85016                                    VORYS SATER VORYS SATER SEYMOUR PEASE
 3   Local Counsel for Aventis Behring, Aventis Pharm.,   52 East Gay Street
     Inc. & Hoescht Marion Roussel Inc.                   P.O. Box 1008
 4                                                        Columbus, OH 43216-1003
     Frederick G. Herold, Esquire                         Nat. Counsel for Defts. Boehringer Ingelheim
 5   DECHERT, PRICE & RHOADS                              Corp., Ben Venue Labs, Bedford Labs & Roxanne
     975 Page Mill Road                                   Labs
 6   Palo Alto, CA 94304-1013
     National Counsel for SmithKline Beecham Corp. &      Kirke M. Hasson, Esquire
 7   Glaxo Wellcome d/b/a GlaxoSmithKline                 Albert G. Lin, Esquire
                                                          PILLSBURY WINTHROP, LLP
 8   Robert W. Shely, Esquire                             50 Fremont Street
     Rodney W. Ott, Esquire                               San Francisco, CA 94105
 9   Kira D. Lodge, Esquire                               National Counsel for Defts. Sicor, Inc. and Gensia
     BRYAN CAVE LLP                                       Sicor Pharmaceuticals, Inc.
10   Two North Central Avenue, Suite 2200
     Phoenix, AZ 85004-4406                               John E. DeWulf, Esquire
11   Local Counsel for Defts. Smithkline Beecham Corp.    Darlene M. Wauro, Esquire
     & Glaxo Wellcome d/b/a GlaxoSmithKline               ROSHKA HEYMAN & DEWULF, PLC
12                                                        One Arizona Center
     David J. Burman, Esquire                             400 East Van Buren - Suite 800
13   Kathleen M. O’Sullivan, Esquire                      Phoenix, AZ 85004
     Zoe Philippides, Esquire                             Local counsel for Boehringer Ingelheim Corp., Ben
14   PERKINS COIE LLP                                     Venue Laboratories, Inc., Bedford Laboratories and
     1201 Third Avenue, Suite 4800                        Roxane Laboratories, Inc.
15   Seattle, WA 98101-3099
     National Counsel for Deft. Immunex Corp.             Lydia Alyce Jones, Esquire
16                                                        JENNINGS, STROUSS & SALMON, P.L.C.
     Michael K. Kennedy, Esquire                          The Collier Center, 11th Floor
17   GALLAGHER & KENNEDY, P.A.                            201 E. Washington Street
     2575 E. Camelback Road                               Phoenix, AZ 85004-2385
18   Phoenix, AZ 85016-9225                               Local Counsel for Defts. Sicor, Inc. and Gensia
     Local Counsel for Deft. Immunex Corp.                Sicor Pharmaceuticals, Inc.
19
     Phillip Robben, Esquire                              Kathleen M. McGuan, Esquire
20   KELLEY DRYE & WARREN, LLP                            Andrew L. Hurst, Esquire
     101 Park Avenue                                      REED SMITH LLP
21   New York, NY 10178                                   1301 K Street NW
     National Counsel for Deft. Dey, Inc.                 Suite 1100 - East Tower
22                                                        Washington, DC 20005
     Don Bivens, Esquire                                  National Counsel for Defts. Fujisawa Healthcare,
23   Paul L. Stoller, Esquire                             Inc. and Fujisawa USA, Inc.
     Phil C. Towers, Esquire
24   MEYER, HENDRICKS & BIVENS, PA                        Michael T. Scott, Esquire
     3003 N. Central Avenue, Suite 1200                   REED SMITH LLP
25   Phoenix, AZ 85012                                    2500 One Liberty Place
     Local Counsel for Deft. Dey, Inc.                    1650 Market Street
26                                                        Philadelphia, PA 19103-7301
                                                          National Counsel for Defts. Fujisawa Healthcare,
27                                                        Inc. and Fujisawa USA, Inc.

28
     ©
         2004 KLINE & SPECTER, P.C.              Page 13 of 14
              Case 1:01-cv-12257-PBS Document 7619-4 Filed 06/24/11 Page 15 of 15



 1   Martin A. Aronson, Esquire                           John E. Riley, Esquire
     William D. Cleveland, Esquire                        VAIRA & RILEY, P.C.
 2   K. Layne Morrill, Esquire                            1600 Market Street, Suite 2650
     MORRILL & ARONSON PLC                                Philadelphia, PA 19103-7226
 3   One East Camelback Road, Suite 340                   Counsel for Deft., Michael T. Gendelman
     Phoenix, AZ 85012-1648
 4   Local Counsel for Defts. Fujisawa Healthcare, Inc.   Dennis Hall, Esquire
     and Fujisawa USA, Inc.                               Christian C. Beams, Esquire
 5                                                        BESHEARS WALLWORK BELLAMY
     S. Craig Holden, Esquire                             2700 North Central Avenue, 12th Floor
 6   Connie E. Eiseman, Esquire                           Phoenix, AZ 85004-1169
     OBER, KALER GRIMES & SHRIVER                         Counsel for Deft., Michael T. Gendelman
 7   120 E. Baltimore Street
     Baltimore, MD 21202                                  Kent Williams, Esquire
 8   Counsel for Defts. Wyeth and Wyeth Pharm.            GIEBEL GILBERT WILLIAMS & KOHL
                                                          2233 North Hamlin Ave., Suite 620
 9   Jeffrey S. Leonard, Esquire                          St. Paul, MN 55113
     SACKS TIERNEY, P.A.                                  Plaintiff’s Counsel
10   4250 North Drinkwater Blvd, Suite 4000
     Scottsdale, AZ 85251-3693                            Marvin K. Blount, Jr., Esquire
11   Local Counsel for Wyeth                              THE BLOUNT LAW FIRM, P.L.L.C.
                                                          400 West First Street
12   M. Lee Robertson, Jr., Esquire                       Greenville, NC 27834
     ROBERTSON & FUTERAL, P.A.                            Plaintiff’s Counsel
13   1002 Anna Knapp Blvd.
     Mt. Pleasant, SC 29464                               Lewis B. April, Esquire
14   Counsel for Defendant, David Jett                    COOPER LEVENSON APRIL
                                                                   NIEDELMAN & WAGENHEIM , P.A.
15   Curtis C. Coleman, III, Esquire                      1125 Atlantic Ave. - Third Floor
     CURTIS C. COLEMAN, III, P.A.                         P.O. Box 1125
16   916 S. Evans Street                                  Atlantic City, NJ 08404-1125
     P.O. Box 588                                         Plaintiff’s Counsel
17   Greenville, NC 27835-0588
     Counsel for Deft., Christopher Coleman               Harry J. Miller, Esquire
18                                                        HARRY J. MILLER, P.L.L.C.
     Trawick H. Stubbs, Jr., Esq.                         80 E. Columbus Avenue
19   STUBBS & PERDUE, P.A.                                Phoenix, AZ 85012
     P.O. Box 1654                                        Plaintiff’s Counsel
20   New Bern, NC 28563
     Counsel for Deft., Scott Hidalgo                     Chad L. Schexnayder, Esquire
21                                                        JENNINGS, HAUG & CUNNINGHAM, L.L.P.
     Charles M. Greene, Esquire                           2800 North Central Avenue, Suite 1800
22   111 North Orange Ave.                                Phoenix, AZ 85004-1049
     Orlando, FL 32801                                    Plaintiff’s Counsel
23   Counsel for Deft., Eddy James Hack

24                                                         /s/ TerriAnne Benedetto, Esquire
                                                           terrianne.benedetto@klinespecter.com
25
26
27
28
     ©
         2004 KLINE & SPECTER, P.C.              Page 14 of 14
